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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE                   SEP 28 2 D „
                                                                   FILED
United States of America

    v.                                    Crim. No. 1 f V f r-g>U-0^-.> _
 l^£e- ^ r p f p uO
                 .


                  ORDER ON VIOLATION OF CONDITIONS

     The defendant appeared before me on this date at a LASER
Review Hearing. During the course of the hearing, the court
determined that the defendant has violated the terms of the LASER
Agreement/Order on Conditions of Release. As a result, the court
enters the following order:


          The defendant shall be detained until                 .
          At the conclusion of incarceration, defendant shall be

                   Brought before the undersigned judge.

                   Released on                          at             am/pm.
                                          [Date]              [Time]



          The defendant shall reside in Hampshire House for a
          period of         days/months to commence on
                             , and shall observe the rules of
          that facility.


          The defendant shall be placed on home detention for
                days/months, to commence on                   .
          During this time, the defendant shall remain at his
          place of residence except for employment and other
          activities approved in advance by the probation
          officer. The defendant shall maintain a telephone at
          his place of residence without any special services,
          modems, answering machines, or cordless telephones for
          the above period. The defendant shall wear an
          electronic device and shall observe the rules specified
          by the Probation Office. The defendant shall pay for
          the cost of electronic monitoring to the extent he is
          able as determined by the probation officer.
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        t/     The defendant shall be subject to the following
               add it
               additional^or modified conditions:


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     Prior conditions of release not inconsistent with this order
shall remain in full force and effect.


                                                     SO ORDERED.


Date:        I/Wtl                                   J o s e p h N. I i a p l a « x e
                                                     United Spates D i s t r i c t      Judge




USDCNH-7     (5-10)


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